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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


United States of America, et al.,

         Plaintiffs,                                  Case No. 1:20-cv-03010-APM
 v.
                                                      HON. AMIT P. MEHTA
Google LLC,

         Defendant.




State of Colorado, et al.,

         Plaintiffs,                                  Case No. 1:20-cv-03715-APM
 v.
                                                      HON. AMIT P. MEHTA
Google LLC,

         Defendant.


               MOTION OF AMERICAN ECONOMIC LIBERTIES PROJECT
                   FOR LEAVE TO FILE BRIEF AS AMICUS CURIAE

         American Economic Liberties Project (“AELP” or “Movant”) respectfully moves for

leave to file an amicus brief in the above-captioned actions, where the Court is considering

appropriate remedies for Defendant Google LLC’s (“Google”) violation of Section 2 of the

Sherman Act. See ECF No. 1033 (Memorandum Opinion). AELP is a nonpartisan, nonprofit

research and advocacy organization that supports fair and consistent enforcement of the antitrust

laws.

         For the reasons set forth herein, and consistent with Local Civil Rule 7(o), AELP’s

proposed amicus brief is desirable and addresses issues that are both unlikely to be addressed by




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any other party and that are relevant to the disposition of the case. A proposed order

accompanies this motion.

                                STATEMENT OF INTEREST

       AELP’s interest stems from its core mission of supporting the fair and consistent

enforcement of the antitrust laws, and from its studious observation of the instant case. AELP

was founded in February 2020 to help translate developments in antitrust law and policy to the

broader public, while ensuring that lawmakers, agency officials, enforcement personnel, and

courts apply the rich history of antitrust law to contemporary market realities. AELP’s advocacy

includes frequent submission of amicus briefs in various antitrust cases.

       AELP has studied this case since the date of its filing. AELP attended every day of the

liability phase of trial and published near-daily trial updates for public consumption. AELP’s

inquiry into the broader circumstances of the case has taken the form of technological research,

proactively seeking out the perspectives of non-parties who stand to be affected by the resolution

of this case, and participation in legal and academic forums in which the case was a centerpiece

of discussion. Since this Court’s August 5, 2024 finding of liability, AELP has published a study

of potential remedies in this matter and been acknowledged for its contributions to another

published study.

                               CONFERRAL WITH PARTIES

       Pursuant to Local Civil Rule 7(o), AELP has conferred with the parties in this matter.

The United States Department of Justice, on behalf of Plaintiffs United States of America, et al.,

in Case No. 1:20-cv-03010-APM, has represented that Plaintiffs do not oppose the filing of an

amicus brief by AELP. Counsel for the State of Colorado, on behalf of Plaintiffs in Case No.




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1:20-cv-03715-APM, take the same position. Defendant Google LLC takes no position on this

motion and reserves the right to respond to an amicus brief filed by AELP.

                                            ARGUMENT

        District courts have “inherent authority” to grant participation by an amicus curiae,

which is derived from Federal Rule of Appellate Procedure 29. Jin v. Ministry of State Sec., 557

F. Supp. 2d 131, 136 (D.D.C. 2008); see also United States v. Microsoft Corp., Civ. A. 98-1233

(TPJ), 1999 WL 1419040, at *1 (D.D.C. Dec. 20, 1999) (“[A] decision to accept an amicus brief

is within the sound discretion of the court”); Cobell v. Norton, 246 F. Supp. 2d 59, 61 (D.D.C.

2003) (“[It] is solely within the discretion of the Court to determine the fact, extent, and manner

of participation by the amicus.”). “District courts frequently welcome amicus briefs from non-

parties concerning legal issues that have potential ramifications beyond the parties directly

involved.” Trunk v. City of San Diego, No. 06-cv-1597, 2007 WL 9776582, at *1 (S.D. Cal.

Dec. 10, 2005).

        “District courts are not bound by Rule 29 but sometimes look to it for guidance when

reviewing a request to file an amicus brief.” Auto Club of New York, Inc. v. Port Auth. of New

York & New Jersey, No. 11 CIV. 6746 RJH, 2011 WL 5865296, at *1 (S.D.N.Y. Nov. 22, 2011).

Rule 29 provides that granting of leave to file an amicus brief is appropriate where “the amici

have a sufficient ‘interest’ in the case and that their brief is ‘desirable’ and discusses matters that

are ‘relevant to the disposition of the case.’” Neonatology Assocs., P.A. v. Comm’r, 293 F.3d

128, 129 (3d Cir. 2002); see also Fed. R. Civ. Proc. 29(b). Federal courts “grant motions for

leave to file amicus briefs unless it is obvious that the proposed briefs do not meet [the

enumerated] criteria as broadly interpreted.” Id. at 133. And “it is preferable to err on the side

of granting leave.” Id.




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       Broadly, AELP’s proposed amicus brief addresses the appropriate legal standard

governing this Court’s determination of a remedy to Google’s illegal monopoly. While ensuring

this Court’s application of the appropriate legal standard is an ostensibly neutral premise, AELP

is nevertheless forthcoming that its interpretation of that legal standard supports Plaintiffs’

position. AELP’s interest in these proceedings, similarly neutral, is to ensure that this Court’s

liability finding, nearly four years in the making, is not in vain, and that remedies give practical

effect to enforcement of the antitrust laws.

       In furtherance of that interest, AELP’s brief provides analysis of disputed legal issues that

threaten to constrain this Court’s affirmative obligation to craft an effective remedy. First,

contrary to arguments made by Google, the remedy in an illegal monopolization case is not

constrained by the “type or class” of violation identified in an underlying liability order. Second,

while Google and a group of ostensibly neutral amici have argued that a “heightened” or

“clearer” causal connection between Google’s unlawful conduct and its maintenance of

monopoly power is required for this Court to order structural relief, controlling Supreme Court

authority provides no support for any such limitation. Finally, no authority supports Google’s

claim that structural relief is available only in monopoly acquisition—but not monopoly

maintenance—cases.

       While a district court has broad authority to craft an effective remedy in an illegal

monopolization case, the breadth of that discretion is not without rule or reason. AELP’s brief

seeks to ground this Court’s disposition in affirmative obligations set forth by the Supreme

Court—namely, its “inescapable responsibility” to “prescribe relief which will terminate the

illegal monopoly, deny [Google] the fruits of its statutory violation, and ensure that there remain




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no practices likely to result in monopolization in the future.” United States v. United Shoe Mach.

Corp., 391 U.S. 244, 250 (1968).

                                        CONCLUSION

       For the foregoing reasons, AELP respectfully requests that the Court grant this Motion

for Leave to File an Amicus Brief and accept the accompanying amicus curiae brief.


 Dated: May 9, 2025                         Respectfully submitted,
                                            /s/ Lee A. Hepner
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